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12                           UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14                                WESTERN DIVISION
15
     UNITED STATES OF AMERICA,                Case No. 22-cr-00482-GW
16
                Plaintiff,                    DECLARATION OF GABRIELA
17                                            RIVERA
          v.
18
     JERRY NEHL BOYLAN,
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                Defendant.
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 Case 2:22-cr-00482-GW Document 65-1 Filed 07/21/23 Page 2 of 2 Page ID #:490




 1                        DECLARATION OF GABRIELA RIVERA
 2
           I, Gabriela Rivera, hereby state and declare as follows:
 3
           1.     I am a Deputy Federal Public Defender in the Central District of California
 4
     assigned to represent Jerry Boylan in this case.
 5
           2.     On July 20, 2023 the government responded to a defense discovery request
 6
     for deposition transcripts and discovery produced by and to the Coast Guard in Nancy
 7
     Fiedler et al v. United States of America, 21-cv-07065-PA-MRW. The government
 8
     produced five deposition transcripts, including transcripts from the depositions of three
 9
     survivors of the Conception fire, but declined to produce any additional documents
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     responsive to the defense requests, writing that “we are not part of that civil case,” and
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     accordingly “have not received and do not have access to those materials.”
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           3.     The Coast Guard has actively participated in the investigation of the
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     instant criminal case, including authoring over 160 investigative reports and
14
     participating in the arrest of Mr. Boylan before his initial appearance. The government
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     publicized the Coast Guard’s involvement in the instant criminal case. See, e.g.,
16
     https://www.justice.gov/usao-cdca/pr/federal-grand-jury-issues-new-indictment-
17
     conception-boat-fire.
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           I declare under penalty of perjury that the foregoing is true and correct to the best
19
     of my knowledge.
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22   DATED: July 21, 2023                   By: /s/ Gabriela Rivera
                                            Gabriela Rivera
23                                          Deputy Federal Public Defender
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